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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                        CASE NO. 04-20516-CR-SEITZ/O’SULLIVAN


  UNITED STATES OF AMERICA,

         Plaintiff.

  vs.

  JORGE HERNANDEZ,

         Defendant.
                                     /

                                     ORDER

         THIS MATTER is before the Court on the Motion to Conduct Inquiry Regarding

  Defense Counsel’s Possible Conflict of Interest and Memorandum of Law (DE# 822,

  8/12/10) filed by defendant Jorge Hernandez. Having reviewed the applicable filings

  and the law, it is

         ORDERED AND ADJUDGED that the Motion to Conduct Inquiry Regarding

  Defense Counsel’s Possible Conflict of Interest and Memorandum of Law (DE# 822,

  8/12/10) is GRANTED. On September 7, 2010, the undersigned held a hearing

  pursuant to Rule 44(c) of the Federal Rules of Criminal Procedure. The undersigned

  inquired of the defendant, the defendant’s counsel and the government. The defendant

  waived his right to conflict-free counsel.

         DONE AND ORDERED, in Chambers, at Miami, Florida, this 7th day of

  September, 2010.



                                               JOHN J. O’SULLIVAN
                                               UNITED STATES MAGISTRATE JUDGE


  Copies provided to:
  The Honorable Judge Seitz
  All Counsel of Record
